
659 S.E.2d 734 (2008)
A.J. LANCASTER, Jr.
v.
NORTH CAROLINA DEPARTMENT OF ENVIRONMENT AND NATURAL RESOURCES, Division of Waste Management, and Environmental Management Commission.
No. 591P07.
Supreme Court of North Carolina.
March 6, 2008.
Kathleen Waylett, Special Deputy Attorney General, for NCDENR, et al.
Lars P. Simonsen, Edenton, for Lancaster.
Prior report: ___ N.C.App. ___, 652 S.E.2d 359.

ORDER
Upon consideration of the petition filed on the 11th day of December 2007 by Respondents in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
